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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                          )
 In re:                                                   )    Chapter 11
                                                          )
 WELLPATH HOLDINGS, INC. et al.,1                         )    Case No. 24-90533 (ARP)
                                                          )
                Debtors.                                  )


ORDER DENYING WITHOUT PREJUDICE THE DEBTORS’ EMERGENCY MOTION
FOR ENTRY OF INTERIM AND FINAL ORDERS TO ENFORCE THE AUTOMATIC
  STAY OR IN THE ALTERNATIVE EXTEND THE AUTOMATIC STAY TO NON-
                       DEBTOR DEFENDANTS

          Came for consideration on a final basis the Debtors’ Emergency Motion for Entry of

Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the Automatic

Stay to Non-Debtor Defendants [ECF No. 17] (the “Stay Motion”). The Court, having reviewed

and considered the Motion, held a hearing to consider the relief requested in the Motion (the

“Hearing”), and considered the evidence and statements of counsel at the Hearing, and after and

after due deliberation, it is hereby ORDERED, ADJUDGED, and DECREED:

          1.      The Stay Motion is DENIED without prejudice to the Debtors seeking such relief

through an adversary proceeding.

          2.      The Amended Interim Order Enforcing the Automatic Stay [ECF No. 69] (the

“Interim Stay Order”) is hereby vacated in its entirety and shall have no further force or effect.

          3.      For the avoidance of doubt, among other things, the following actions shall not

violate the automatic stay, absent further order of this Court:

               a. Severance or bifurcation of proceedings to allow the action to continue against any
                  non-debtor entity;


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  A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://dm.epiq11.com/Wellpath.
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            b. Settlement with non-debtor entities or the approval of such settlements by a court
               of competent jurisdiction;

            c. Propounding and obtaining discovery from non-debtor entities, including filing and
               adjudicating motions regarding the same;

            d. Dismissing the Debtors from pending proceedings; and

            e. And continuing proceedings to obtaining injunctive relief against non-debtor
               entities.

       4.      The term “entity” in this Order shall have the meaning ascribed to that term in 11

U.S.C. § 101(15), and include any person, corporation, limited liability company, estate, trust,

governmental unit, or official.

       5.      The Debtors shall cause a copy of this Order to be filed with each court in which

any of the Debtors have filed a copy of the Interim Stay Order.



Signed:
                                                    ____________________________________
                                                    Alfredo R. Pérez
                                                    United States Bankruptcy Judge




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